           Case 3:23-cv-01842-RBM-MSB Document 1-7 Filed 10/06/23 PageID.79 Page 1 of 1


       ) The State Bar of California

Kamran M Shahabi #276194
License Status: Active

Address: Valiant Law, 800 Ferrari, Ste 100, Ontario, CA 91764-5031
Phone: Not Available     | Fax: Not Available
Email: ks@valiantlaw.com      | Website: Not Available


More about This Attorney                 v

All changes of license status due to nondisciplinary administrative matters and disciplinary actions.

Date                 License Status @                     Discipline e        Administrative Action @
Present              Active
6/1/2011             Admitted to the State Bar of California


Additional Information:
       e About the disciplinary system



Copyright © 2023 The State Bar of California




000
